
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-07-402-CV



IN RE GRAND TEXAS HOMES, INC. 				 &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;RELATORS

D/B/A GRAND HOMES, 

GRAND HOMES 2003, L.P., 

GRAND HOMES 2000, L.P. 

AND MELANIE BRUTON	



------------

ORIGINAL PROCEEDING

------------

MEMORANDUM OPINION
(footnote: 1)
------------

The court has considered relators’ petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relators’ petition for writ of mandamus is denied.

Relators shall pay all costs of this original proceeding, for which let execution issue.

PER CURIAM





PANEL &nbsp;B: &nbsp;MCCOY, LIVINGSTON, and WALKER, JJ. 



DELIVERED: &nbsp;February 21, 2008

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




